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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 CODING TECHNOLOGIES, LLC,
              Plaintiff,                               C.A. NO. 1:18-cv-01008-LPS-CJB
   v.
                                                       JURY TRIAL DEMANDED
 PRIMO WATER CORPORATION,

                         Defendant.



                                      PROCEDURES ORDER

       IT IS HEREBY ORDERED that, subject to any subsequent order of the Court, the

following procedures shall govern proceedings in this matter:

1. "Discovery Matters" Procedures.

       a. Any discovery motion filed without first complying with the following procedures will

         be denied without prejudice to renew pursuant to these procedures.

       b. Should counsel find, after good faith efforts - including verbal communication among

         Delaware and Lead Counsel for all parties to the dispute - that they are unable to

         resolve a discovery matter or a dispute relating to a protective order, the parties

         involved in the discovery matter or protective order dispute shall submit a joint letter in

         substantially the following form:

                Dear Judge Stark:

                The parties in the above-referenced matter write to request the scheduling

                of a discovery teleconference. The following attorneys, including at least

                one Delaware Counsel and at least one Lead Counsel per party,

                participated in a verbal meet-and-confer (in person and/or by telephone)

                on the
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               following date(s): _________________.

               The disputes requiring judicial attention are listed below:

               [provide here a non-argumentative list of disputes requiring judicial

               attention]

      c. On a date to be set by separate order, generally not less than forty-eight (48) hours prior

        to the conference, the party seeking relief shall file with the Court a letter, not to exceed

        three (3) pages, outlining the issues in dispute and its position on those issues. On a date

        to be set by separate order, but generally not less than twenty-four (24) hours prior to the

        conference, any party opposing the application for relief may file a letter, not to exceed

        three (3) pages, outlining that party's reasons for its opposition.

      d. Each party shall submit two (2) courtesy copies of its discovery letter and any

        attachments.

      e. Should the Court find further briefing necessary upon conclusion of the telephone

        conference, the Court will order it. Alternatively, the Court may choose to resolve the

        dispute prior to the telephone conference and will, in that event, cancel the conference.

2. Motions to Amend.

      a. Any motion to amend (including a motion for leave to amend) a pleading shall NOT be

        accompanied by an opening brief but shall, instead, be accompanied by a letter, not to

        exceed three (3) pages, describing the basis for the requested relief, and shall attach the

        proposed amended pleading as well as a "blackline" comparison to the prior pleading.

      b. Within seven (7) days after the filing of a motion in compliance with this Order, any

        party opposing such a motion shall file a responsive letter, not to exceed five (5) pages.

      c. Within three (3) days thereafter, the moving party may file a reply letter, not to exceed
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         two (2) pages, and, by this same date, the parties shall file a letter requesting a

         teleconference to address the motion to amend.

3. Motions to Strike.

       a. Any motion to strike any pleading or other document shall NOT be accompanied by an

         opening brief but shall, instead, be accompanied by a letter, not to exceed three (3) pages,

         describing the basis for the requested relief, and shall attach the document to be stricken.

       b. Within seven (7) days after the filing of a motion in compliance with this Order, any

         party opposing such a motion shall file a responsive letter, not to exceed five (5) pages.

         c. Within three (3) days thereafter, the moving party may file a reply letter, not to exceed

         two (2) pages, and, by this same date, the parties shall file a letter requesting a

         teleconference to address the motion to strike.

4. Scheduling Order. The foregoing procedures shall be repeated in the scheduling order to be

 entered in this case.



ENTERED on this ____ day of _____________, 2018.



                                              ___________________________________
                                              Magistrate Judge Christopher J. Burke
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Dated: October 2, 2018                              STAMOULIS & WEINBLATT LLC

                                            /s/ Stamatios Stamoulis
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                                            Coding Technologies, LLC




                               CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2018, I electronically filed the above documents with

the Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                            /s/Stamatios Stamoulis
                                            Stamatios Stamoulis (#4606)
